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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MARYLAND
                                        (Northern Division)

 DAVID J. BOSHEA 1                                        *

             Plaintiff,                                   *

             v.                                           *           Case No. 1:21-CV-00309-ELH
 COMPASS MARKETING, INC.                                  *

             Defendant.                                   *

                                                          *
 *           *       *       *       *        *       *           *       *      *       *        *        *

                                              VERDICT FORM 2

I. Breach of Contract



1.       Do you find that Plaintiff the Estate of David John Boshea has proven by a preponderance
         of the evidence that Plaintiff the Estate of David John Boshea and Defendant Compass
         Marketing, Inc. entered into a contract whereby Compass Marketing, Inc. agreed to pay
         Plaintiff a severance payment up to $540,000.00?

         YES                         NO

         If you answered “YES” to Question No. 1, please proceed to Question No. 2. If you
         answered “NO” to Question No. 1, please proceed to the date and signature lines on page
         3 and notify the Marshal you have reached a verdict.

2.       If you answered “YES” to Question No. 1, please indicate whether Plaintiff David John
         Boshea and Defendant Compass Marketing, Inc. entered into a written contract and/or an
         oral contract (if appropriate, you may pick more than one).

         WRITTEN                     ORAL                     BOTH

         Please proceed to Question No. 3.




         1
          Counsel for David J. Boshea filed a Suggestion of Death and requested that the Court allow the case to
proceed as Ashley Boshea, Administrator for the Estate of David John Boshea.
         2
             David Boshea obtained the proposed Verdict Forms from CM/ECF 246, which is the form prepared by the
Court.

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3.    Do you find that Plaintiff the Estate of David John Boshea has proven by a preponderance
      of the evidence that Defendant Compass Marketing Inc. breached a contract with Plaintiff
      the Estate of David John Boshea by failing to pay him as severance?

      YES                    NO

      If you answered “YES” to Question No. 3, please proceed to Question No. 4. If you
      answered “NO” to Question No. 3, please proceed to the date and signature lines on page
      3 and notify the Marshal that you have reached a verdict.

4.    What amount of damages do you award to Plaintiff the Estate of David John Boshea against
      Defendant Compass Marketing, Inc. for breach of contract?

      $

      Please proceed to Question 5.

5.    Do you find that Plaintiff the Estate of David John Boshea has proven by a preponderance
      of the evidence that he is entitled to receive prejudgment interest on the amount owed
      calculated at the legal rate of 6% per year from the date of his termination?

      YES                    NO

      Please proceed to Question No. 6.

II. Maryland Wage Payment and Collection Law
6.     Do you find by a preponderance of the evidence that Defendant Compass Marketing Inc.
       violated Plaintiff the Estate of David John Boshea’s rights under the Maryland Wage
       Payment and Collection Law for failing to pay him severance he earned?

      YES                    NO

      If you answered YES” to Question No. 6, please proceed to Question No. 7.

      If you answered “NO’’ to Question No. 6, please proceed to the date and signature lines on
      page 3 and notify the Marshal that you have reached a verdict.

7.    What is the amount of severance owed to Plaintiff the Estate of David John Boshea by
      Defendant Compass Marketing, Inc.?

      $

      Please proceed to Question No. 8.

8.    Do you find that Defendant Compass Marketing, Inc. has proven by a preponderance of
      the evidence that its failure to pay Plaintiff the Estate of David John Boshea severance was
      the result of a bona fide dispute (i.e., in good faith)?

      YES                    NO

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       If you answered ‘YES” to Question No. 8, please proceed to the date and signature line on
       page 3 and notify the Marshal that you have reached a verdict.

       If you answered “NO” to Question No. 8, please proceed to Question No. 9.

9.     Do you find that the lack of a bona fide dispute as to severance owed to Plaintiff the Estate
       of David John Boshea warrants the award to Plaintiff the Estate of David John Boshea of
       additional damages under the Maryland Wage Payment and Collection Law?

       YES                    NO

       If you answered “YES” to Question No. 9, please proceed to Question No. 10.

       If you answered ‘NO” to Question No. 9, please proceed to the date and signature lines
below and notify the Marshal that you have reached a verdict.

10.    Additional damages under the Maryland Wage Payment and Collection Law may be
       anywhere from $0 to a maximum of no more than three (3) times the amount of the unpaid
       wages that you awarded, if any, in answer to Question No. 7. What additional damages, if
       any, do you award to Plaintiff the Estate of David John Boshea under the Maryland Wage
       Payment and Collection Law?

       $

        Proceed to date and signature lines below and notify the Marshal that you have reached a
verdict.

       FOREPERSON MUST DATE AND SIGN IMMEDIATELY BELOW.

       Date:

       Please inform the Marshal that you have reached a verdict.




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Dated: March 17, 2025

                               Respectfully submitted,

                               /s/ Gregory J. Jordan

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